     Case 1:08-cr-00012-MCR-AK           Document 156         Filed 05/06/09    Page 1 of 1


                                                                                         Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:08-cr-00012-MP-AK

AMANDA YVONNE WHITE,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 151, a motion to modify Ms. White's conditions

of release. The government and the probation office consent to the requested modifications. The

motion is granted. The condition of a curfew is lifted and defendant is no longer subject to

electronic monitoring.

       All other conditions of release remain in full force and effect.


       DONE AND ORDERED this 6th day of May, 2009


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
